








 


NUMBER 13-03-205-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG



CHRISTINA O. AKATUGBA , Appellant,



v.



CLETUS E. AKATUGBA , Appellee.



On appeal from the 197th District Court

of Cameron County, Texas.




MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza

Opinion Per Curiam



 Appellant, CHRISTINA O. AKATUGBA , perfected an appeal from a judgment entered by the 197th District Court of
Cameron County, Texas, in cause number 2002-05-2073-C .  No clerk's record has been filed due to appellant's failure to
pay or make arrangements to pay the clerk's fee for preparing the clerk's record.  

 If the trial court clerk fails to file the clerk's record because the appellant failed to pay or make arrangements to pay the
clerk's fee for preparing the clerk's record, the appellate court may dismiss the appeal for want of prosecution unless the
appellant was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).

 On May 6, 2003 , notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R. App. P.
37.3(b).  Appellant was given ten days to explain why the cause should not be dismissed.  To date, no response has been
received from appellant. 

 The Court, having examined and fully considered the documents on file, appellant's failure to pay or make arrangements to
pay the clerk's fee for preparing the clerk's record,  this Court's notice, and appellant's failure to respond, is of the opinion
that the appeal should be dismissed for want of prosecution. The appeal is hereby DISMISSED FOR WANT OF
PROSECUTION.

PER CURIAM





Opinion delivered and filed

this the 19th day of June, 2003.




